                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR 06-1008
 vs.                                                 ORDER REGARDING
                                                  MAGISTRATE’S REPORT AND
 JORGE ANTONIO DOMINGUEZ-                            RECOMMENDATION
 CERVANTES,                                       CONCERNING DEFENDANT’S
                                                       GUILTY PLEAS
                Defendant.
                                 ____________________

                       I. INTRODUCTION AND BACKGROUND
        On March 22, 2006, an eleven-count Indictment was returned against the defendant
Jorge Antonio Dominguez-Cervantes.        On May 1, 2006, a two-count Information was
filed against the defendant Jorge Antonio Dominguez-Cervantes. On May 1, 2006, the
defendant appeared before United States Magistrate Judge John A. Jarvey and entered
pleas of guilty to Counts 1, 4, 6, 7 and 13 of the Indictment and Counts 1 and 2 of the
Information. On May 1, 2006, Judge Jarvey filed a Report and Recommendation in which
he recommended that defendant’s guilty pleas be accepted. No objections to Judge
Jarvey's Report and Recommendation were filed. The court, therefore, undertakes the
necessary review of Judge Jarvey's recommendation to accept defendant’s pleas in this
case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or

        Case 2:06-cr-01008-LRR       Document 43      Filed 05/16/06    Page 1 of 2
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Jarvey's findings and conclusions, that there is no ground to reject or modify
them. Therefore, the court accepts Judge Jarvey's Report and Recommendation of May
1, 2006, and accepts defendant’s pleas of guilty in this case to Counts 1, 4, 6, 7 and 13 of
the Indictment and Counts 1 and 2 of the Information.
       IT IS SO ORDERED.
       DATED this 16th day of May, 2006.




                                             2

       Case 2:06-cr-01008-LRR        Document 43      Filed 05/16/06    Page 2 of 2
